      Case 2:19-cr-00509-MHH-SGC Document 1 Filed 09/26/19 Page 1 of 3                   FILED
                                                                                2019 Sep-30 AM 09:08
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA
                                                             JET/KMP October 2019
                                                                          GJ# 43

               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA                 )
                                         )
       v.                                ) No.
                                         )
JOHNNY LEE SMITH, III                    )
                                         )

                                 INDICTMENT

COUNT ONE: [18 U.S.C. ' 841(a)(1)&(b)(1)(C)]

      The Grand Jury charges that:

      On or about the 21st day of May, 2018, in Jefferson County, within the

Northern District of Alabama, the defendant,

                          JOHNNY LEE SMITH, III,

did knowingly, intentionally, and unlawfully possess with the intent to distribute a

mixture and substance containing a detectable amount of heroin, a controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

(b)(1)(C).

COUNT TWO: [18 U.S.C. ' 841(a)(1)&(b)(1)(C)]

      The Grand Jury charges that:

      On or about the 21st day of May, 2018, at a different time and place than in
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Count One, in Jefferson County, within the Northern District of Alabama, the

defendant,

                           JOHNNY LEE SMITH, III,

did knowingly, intentionally, and unlawfully possess with the intent to distribute a

mixture and substance containing a detectable amount of heroin, a controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

(b)(1)(C).

COUNT THREE: [18 U.S.C. ' 924(c)(1)(A)(i)]

      The Grand Jury charges that:

      On or about the 21st day of May, 2018, in Jefferson County, within the

Northern District of Alabama, the defendant,

                           JOHNNY LEE SMITH, III,

knowingly possessed a firearm in furtherance of a drug trafficking crime for which

he may be prosecuted in a Court of the United States, that is, possession with intent

to distribute heroin, as charged in Count Two of this Indictment, in violation of Title

18, United States Code, Section 924(c)(1)(A)(i).

COUNT FOUR: [18 U.S.C. § 922(o)]

      The Grand Jury charges that:

      On or about the 21st day of May, 2018, in Jefferson County, within the

Northern District of Alabama, the defendant,

                           JOHNNY LEE SMITH, III,
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did knowingly possess a machine gun, that is, a Glock .40 caliber firearm converted

to fully automatic by way of an automatic switch, and a .223 caliber firearm

converted to fully automatic, in violation of Title 18, United States Code, Sections

922(o) and 924(a)(2).

COUNT FIVE: [26 U.S.C. § 5861(d)]

      The Grand Jury charges that:

      On or about the 21st day of May, 2018, in Jefferson County, within the

Northern District of Alabama, the defendant,

                           JOHNNY LEE SMITH, III,

did knowingly receive and possess a firearm, that is a silencer, further described as

one repurposed flashlight body, and one black cylindrical device used for silencing,

muffling, or diminishing the report of a portable firearm, in violation of Title 26,

United States Code, Section 5861(d).

A TRUE BILL

 /s/ Electronic Signature
FOREPERSON OF THE GRAND JURY

                                            JAY E. TOWN
                                            United States Attorney

                                            /s/ Electronic Signature
                                            KRISTY M. PEOPLES
                                            Assistant United States Attorney
